 I   DAVID L. ANDERSON (CABN 149604)
     United States Attorney
2
     HALLIE HOFFMAN (CABN 210020)
J    Chief, Criminal Division

4    AMrE D. ROONEY (CABN 215314)
     susAN KNIGHT (CABN 209013)
5    Assistant United States Attomey

6           150 Almaden Boulevard. Suite 900
            San Jose, California   951l3
 7          Telephone: (408) 535-506 I
            FAX: (408) s3s-5066
 8          Email : Amie.Rooney@usdoj. gov
                   Susan.Kni ght@usdoj. gov
 9

10   Attomeys for United States of America

1l                                    UNITED STA'TES DISTRICT COURT

t2                                  NORTI]ERN DISTRICT OF CALIFORNIA

l3                                            SAN JOSE DIVISION

l4   UNITED STATES OF AMERICA,                      ) NO. CR l8-00259 BLF
                                                    )
l5          Plaintifl                               )   NOI'ICE OF DISMISSAL
                                                    )
l6                                                  )
                                                    )
t7   ANA ROSARIO,                                   )
                                                    )
18          Defendant.                              )
                                                    )
t9

20          With leave ol'the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the United

2t   States Attorney for the Northern District of Califbrnia dismisses Counts One, Two. Ten, Eleven, and

22   Fourteen contained in the above-captioned indictment against defendant Ana Rosario only without

23   prejudice.

                                                                Respectl ul ly submitted.
24   DATED:
                  trl tt (tq
75                                                              DAVID L. ANDERSON
                                                                United States
26

27
                                                                I-IALI- HOF'F-MAN
28                                                              Chiel, Criminal Division

     NOTICE OF DISMISSAL
     No. CR l8-00259 BLF                                                                     v.7/1012018
 I                                       IPROPOSEDI ORDER
 2          Leave is granted to the govemment to dismiss Counts One, Two, Ten, Eleven, and Fourteen

 J   contained in the above-captioned indictment against defendant Ana Rosario.

 4

 5   DATED:

 6
                                                       HONORABLE BETH LABSON FREEMAN
 7                                                     United States District Judge
 8

 9

10

11

12

13

t4
l5
16

17

18

l9
20

21

22

23

24

25

26

)1

28

     NOTICE OF DISMISSAL
     No. CR l8-00259 BLF                                                                v.7ll0/2018
